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EXHIBIT 7
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June 1, 2004

Mr. and Mrs. Michael J. Dupree, Sr.

55 Martell

Bloomfield Hills, MI 48304

Dear Mr. and Mrs. Dupree and Michael:

Your son, Michael Dupree, has been dismissed from Cranbrook Kingswood Upper
School effective June 1, 2004.

To assist you with any transition please call me at 248-645-3620 or email me at
jwinter@cranbrook.edu.

Sincerely,

1
John J. Winter
Dean of Boys

co: Charles Shaw

Sharon Peacock
Arlyce Seibert

CBo00024
